
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. &nbsp;2-09-170-CR





TERRY LEE SCOTT II	 &nbsp;&nbsp;&nbsp;&nbsp;							APPELLANT

V.

THE STATE OF TEXAS	STATE

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FROM COUNTY CRIMINAL COURT NO. 10 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered the appellant's “Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. Tex. R. App. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See id.;
 Tex. R. App
. P.
 43.2(f). 

PER CURIAM



PANEL: DAUPHINOT, GARDNER, and WALKER, JJ.



DO NOT PUBLISH

Tex. R. App
. P. 
47.2(b)



DELIVERED: December 17, 2009							

FOOTNOTES
1:See
 
Tex. R. App
. P.
 47.4.




